           Case 1:19-cr-00493-ALC Document 57 Filed 12/30/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                            12/30/20
--------------------------------------------------------X
United States of America,
                                                                     ORDER
                                                                     19-CR-493 (ALC)
                          -against-


Adalgisa Montilla,
---------------------------------------------------------X
ANDREW L. CARTER, JR., United States District Judge:

        The Sentencing scheduled for January 14, 2021 is adjourned to April 8, 2021 at

12:00 p.m.

        SO ORDERED.

 Dated: New York, New York
        December 30, 2020


                                                    _________________________________________
                                                    ANDREW L. CARTER, JR.
                                                    UNITED STATES DISTRICT JUDGE
